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                      UNITED STATES DISTRICT COURT
                       MIDDLE DISTRICT OF FLORIDA
                         JACKSONVILLE DIVISION

UNITED STATES OF AMERICA

v.                                     Case No. 3:20-cr-86(S1)-J-32JBT

JORGE PEREZ
RICARDO PEREZ
AARON DURALL
JAMES F. PORTER, JR.
SEAN PORTER
CHRISTIAN FLETCHER
NEISHA ZAFFUTO
AARON ALONZO
NESTOR ROJAS

         GOVERNMENT’S NOTICE OF ADVISING DEFENDANTS
            OF LIST OF CO-CONSPIRATORS NOT NAMED
                IN THE SUPERSEDING INDICTMENT

      The United States, by and through undersigned counsel, provides notice to the

Court of complying with this Court’s Order issued during the April 27, 2021 Motions

Hearing that the Government provide notice to the defendants regarding alleged co-

conspirators not named in the Superseding Indictment. The Government provided

the list to defense counsel via e-mail on May 27, 2021 at 8:40 am.
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                                      Respectfully submitted,

                                      KARIN HOPPMANN
                                      Acting United States Attorney


                                By:    /s/ Tysen Duva
                                      TYSEN DUVA
                                      Assistant United States Attorney
                                      Florida Bar No. 0603511
                                      300 N. Hogan Street, Suite 700
                                      Jacksonville, Florida 32202
                                      Telephone: (904) 301-6300
                                      Facsimile: (904) 301-6310
                                      E-mail: Tysen.Duva@usdoj.gov


                                      DANIEL KAHN
                                      ACTING CHIEF
                                      U.S. DEPARTMENT OF JUSTICE
                                      CRIMINAL DIVISION, FRAUD SECTION

                               By: /s/ James V. Hayes
                                   GARY A. WINTERS
                                   JAMES V. HAYES
                                   TRIAL ATTORNEYS
                                   United States Department of Justice
                                   Criminal Division, Fraud Section
                                   1400 New York Avenue, NW
                                   Washington, DC 20005
                                   Tel: (202) 598-2382
                                   Email: Gary.Winters@usdoj.gov
                                           James.Hayes@usdoj.gov




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                          CERTIFICATE OF SERVICE

      I, hereby certify that, on May 27, 2021, a true and correct copy of the foregoing

was filed and served on all counsel via the CM/ECF system.


                                                /s/ Tysen Duva
                                                Tysen Duva
                                                Assistant United States Attorney




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